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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.

 MICHAEL T. FLYNN,                    Crim. Action No. 17-232 (EGS)
                    Defendant.




                                   ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that Defendant’s Motion to Compel the Production of

Brady Material and for an Order to Show Cause, ECF Nos. 109 &

111, are DENIED; and it is further

      ORDERED that Defendant’s Sealed Motion to Compel the

Production of Brady Material, ECF No. 112, and Sealed Motion for

an Order to Show Cause, ECF No. 113, are DENIED; and it is

further

      ORDERED that Defendant’s Motion to Compel the Production of

Newly Discovered Brady Evidence, ECF No. 124, is DENIED.

      SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           December 16, 2019
